USCA Case #23-1175      Document #2082355     Filed: 10/28/2024   Page 1 of 6



             UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT

City of Port Isabel, et al.,       )
         Petitioners,              )
                                   )
          v.                       )          Nos. 23-1174, 23-1221,
                                   )               23-1175, 23-1222
Federal Energy Regulatory          )
 Commission,                       )
        Respondent.                )

            MOTION OF RESPONDENT FEDERAL
      ENERGY REGULATORY COMMISSION FOR A 30-DAY
         EXTENSION OF DEADLINE TO RESPOND TO
              PETITIONS FOR REHEARING

      Respondent Federal Energy Regulatory Commission moves for a

30-day extension of the current deadline to respond to the three

petitions for rehearing en banc filed in the above-captioned actions.

With the requested 30-day extension of time, responses from the

Commission and petitioners to the three petitions would be due on

December 9, 2024. Through this motion, the Commission is seeking the

same 30-day extension granted to intervenors to file their petitions for

rehearing, and the same 30-day extension recently granted to

environmental petitioners to file their response to the petition for

rehearing in New Jersey Conservation Foundation v. FERC, Nos. 23-

1064, et al.
USCA Case #23-1175     Document #2082355        Filed: 10/28/2024   Page 2 of 6



     Intervenors Rio Grande LNG, Rio Bravo, and Texas LNG consent

to this motion. Petitioners have advised that they take no position.

     1.    On August 6, 2024, the Court issued its opinion in City of

Port Isabel v. FERC, Case Nos. 23-1174, et al. and 23-1175, et al., which

addressed challenges to the Commission’s authorization of two liquefied

natural gas export facilities (the Rio Grande LNG facility and the Texas

LNG facility), and the Rio Bravo pipeline that would carry natural gas

to the Rio Grande LNG facility. The Court granted the petitions for

review in part and vacated the Commission’s authorizations.

     2.    On September 10, 2024, the Court granted the motions of

Intervenors Rio Grande LNG, Rio Bravo, and Texas LNG for a 30-day

extension of the time to file petitions for rehearing of the Court’s

decision. See ECF No. 2074126 (Case No. 23-1174), ECF No. 2074129

(Case No. 23-1175).

     3.    On October 21, 2024, Rio Grande LNG, Rio Bravo, and Texas

LNG filed three separate petitions for rehearing.

     4.    On October 23, 2024, the Court ordered the Commission and

petitioners to file responses to the petitions within 15 days, i.e., by

November 7, 2024. See ECF No. 2081581 (Case No. 23-1174), ECF No.
USCA Case #23-1175     Document #2082355     Filed: 10/28/2024   Page 3 of 6



2081451 (Case No. 23-1175).

     5.    The requested 30-day extension will allow the Commission

additional time to review the three separate petitions and coordinate its

response to avoid redundant filings.

     6.    In addition, the Commission understands that numerous

groups intend to submit amicus briefs regarding the issues raised in the

three petitions for rehearing. Extending the deadline to respond to the

petitions would allow the Commission time to consider those briefs

before filing its response.

     7.    In addition, the extension will also help accommodate

counsel’s preexisting professional commitments in other matters. For

instance, Commission counsel will be presenting oral argument in

Industrial Energy Consumers v. FERC, D.C. Cir. No. 23-1334, on

November 14, 2024. Counsel is also responsible for the Commission’s

brief in Michigan Electric Transmission Company, LLC v. FERC, D.C.

Cir. Nos. 24-1039, et al., due on November 19, 2024.

     8.    The requested 30-day extension is identical to the extension

recently granted by the Court for responses to the rehearing petition

filed in New Jersey Conservation Foundation v. FERC, Nos. 23-1064, et
USCA Case #23-1175    Document #2082355         Filed: 10/28/2024   Page 4 of 6



al. See ECF No. 2076295.

                             CONCLUSION

     For the forgoing reasons, this Court should grant the requested

30-day extension of time (to and including December 9, 2024) to respond

to the petitions for rehearing filed in Case No. 23-1174, et al. and No.

23-1175, et al.

                                          Respectfully submitted,

                                          Robert H. Solomon
                                          Solicitor

                                          /s/ Robert M. Kennedy
                                          Robert M. Kennedy
                                          Senior Attorney

                                          Jason T. Perkins
                                          Attorney


Federal Energy Regulatory Commission
888 First Street, NE
Washington, D.C. 20426
Tel.: (202) 502-8904
Fax: (202) 273-0901
Email: Robert.Kennedy@ferc.gov

October 28, 2024
USCA Case #23-1175        Document #2082355       Filed: 10/28/2024   Page 5 of 6



                     CERTIFICATE OF COMPLIANCE

         Pursuant to Fed. R. App. P. 32(g), I certify that this filing complies

with the type-volume limitation of Fed. R. App. P. 27(d)(2)(C) because it

contains 524 words, excluding the parts exempted by Fed. R. App. P.

32(f).

         I further certify that this filing complies with the type-face

requirements of Fed. R. App. P. 32(a)(5) and the type-style

requirements of Fed. R. App. P. 32(a)(6) because this filing has been

prepared in Century Schoolbook 14-point font using Microsoft Word

2010.



                                      /s/ Robert M. Kennedy
                                      Robert M. Kennedy
                                      Senior Attorney


Federal Energy Regulatory
  Commission
Washington, D.C. 20426
Tel.: (202) 502-8904
Fax: (202) 273-0901
Email: robert.kennedy@ferc.gov

October 28, 2024
USCA Case #23-1175     Document #2082355        Filed: 10/28/2024   Page 6 of 6




                     CERTIFICATE OF SERVICE

      I hereby certify that, on October 28, 2024, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



                                           /s/ Robert M. Kennedy
                                           Robert M. Kennedy
                                           Senior Attorney
